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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

_______________________________________
                                       )
THE TUDOR CONDOMINIUM TRUST,           )
                                       )
            Plaintiff,                 )
                                       )                            Civil Action No.
      v.                               )                            24-11760-FDS
                                       )
WILLIAM F. ACHTMEYER, et al.,          )
                                       )
            Defendants.                )
_______________________________________)


                            MEMORANDUM AND ORDER ON
                       MOTION FOR MEMORANDUM OF LIS PENDENS

SAYLOR, CJ.

       On May 29, 2024, plaintiff the Tudor Condominium Trust brought an in-rem action to

enforce a lien for unpaid condominium expenses against defendants William F. Achtmeyer and

Allison G. Achtmeyer and certain parties in interest, First Citizens Bank and Trust Company, the

United States Internal Revenue Service, and the City of Boston Collector of Taxes. (ECF 9

Ex. A at 1-2). The property at issue in the case is 34 ½ Beacon Street, Unit 17, Boston,

Massachusetts. (Id. at 4).

       The United States removed the case and counterclaimed to enforce a federal tax lien on

the property. (ECF 1; ECF 10). 1 The United States also moved under Mass. Gen. Laws. ch. 184

§ 15(b) for approval of a memorandum of lis pendens as to the property. (ECF 11).

       In Massachusetts, a memorandum of lis pendens is a notice recorded in the chain of title

of real property that signifies there is a “suit pending” constituting a claim on the property. See



       1
           The Achtmeyers have defaulted on the counterclaim. (ECF 25).
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Wolfe v. Gormally, 440 Mass. 699, 702-03 (2004). Upon the motion of a party, “if the subject

matter of the action constitutes a claim of a right to title to real property or the use and

occupation thereof or the buildings thereon, a justice of the court in which the action is pending

shall make a finding to that effect and endorse” the memorandum. Mass. Gen. Laws ch. 184,

§ 15(b). That language is mandatory and affords judges little discretion when the action

concerns an interest in real property. See DeCroteau v. DeCroteau, 90 Mass. App. Ct. 903, 905

(2016).

          Nonetheless, there are statutory requirements that must be satisfied before a lis pendens

memorandum may be granted. See id. at 905-06. The party seeking the memorandum must

commence an underlying proceeding with a verified or certified complaint, the facts in the

complaint must be true, and no material facts may be omitted. Mass. Gen. Laws ch. 184,

§ 15(b).

          The Court finds that the counterclaim of the United States is a certified complaint that

affects the title to the property located at 34 ½ Beacon Street, Unit 17, Boston, Massachusetts.

The Court further finds that the attorney declarations in support of the counterclaim and motion

for lis pendens satisfy the other statutory prerequisites.

          Accordingly, the Court GRANTS the motion of the United States and will ENDORSE

the memorandum of lis pendens.

So Ordered.

                                                    /s/ F. Dennis Saylor IV
                                                    F. Dennis Saylor IV
Dated: December 6, 2024                             Chief Judge, United States District Court




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